               Case 3:22-cv-05035-RSL Document 271 Filed 02/23/24 Page 1 of 3




                                                                      The Honorable Robert S. Lasnik
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 6
                           UNITED STATES DISTRICT COURT
 7                        WESTERN DISTRICT OF WASHINGTON
                                    AT SEATTLE
 8
     SUSAN SOTO PALMER, et al.,                            NO. 3:22-cv-5035-RSL
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10
                       Plaintiffs,
          v.
11                                                         NOTICE OF APPEARANCE FOR
     STEVEN HOBBS, et al.,                                 INTERESTED PARTY YAKAMA
12                                                         NATION
                    Defendants,
13         and

14   JOSE TREVINO, et al.,
15
                     Intervenor-Defendants.
16

17   TO:           THE CLERK OF THE ABOVE COURT;
     AND TO:       ALL COUNSEL OF RECORD.
18
            Please take notice that Ethan Jones and Anthony Aronica hereby enters this Notice of
19
     Appearance as counsel for Interested Party, the Confederated Tribes and Bands of the Yakama
20
     Nation (“Yakama Nation”), in the above-captioned action, and without waiving any objections,
21
     defenses, or claims, for the limited purpose of filing statements regarding the Yakama Nation’s
22
     communities of interest subject to remedial Legislative District mapping.
23

24

25                                                                            YAKAMA NATION
     NOTICE OF APPEARANCE FOR INTERESTED                                 OFFICE OF LEGAL COUNSEL
     PARTY YAKAMA NATION                                                P.O. Box 150 / 401 Fort Road
                                                                           Toppenish, WA 98948
     3:22-CV-5035-RSL - 1                                                  Phone (509) 865-7268
           Case 3:22-cv-05035-RSL Document 271 Filed 02/23/24 Page 2 of 3




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 2        DATED this 23rd day of February, 2024.

 3
                                            Respectfully submitted,
 4
                                            /s/ Ethan Jones
 5                                          Ethan Jones, WSBA #46911
                                            Anthony S. Aronica, WSBA #54725
 6                                          YAKAMA NATION
                                            OFFICE OF LEGAL COUNSEL
 7
                                             P.O. Box 150 / 401 Fort Road
 8                                           Toppenish, WA 98948
                                             Telephone: (509) 865-7268
 9                                          ethan@yakamanation-olc.org
                                            anthony@yakamanation-olc.org
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                                            Attorneys for the Confederated Tribes and
11                                          Bands of the Yakama Nation
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25                                                                          YAKAMA NATION
     NOTICE OF APPEARANCE FOR INTERESTED                               OFFICE OF LEGAL COUNSEL
     PARTY YAKAMA NATION                                              P.O. Box 150 / 401 Fort Road
                                                                         Toppenish, WA 98948
     3:22-CV-5035-RSL - 2                                                Phone (509) 865-7268
              Case 3:22-cv-05035-RSL Document 271 Filed 02/23/24 Page 3 of 3




                                   CERTIFICATE OF SERVICE
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 2
            I certify that on this day I caused the foregoing document to be electronically filed with the
 3
     Clerk of the Court using the Court’s CM/ECF System, which will serve a copy of this document
 4   upon all counsel of record.
 5
            The following parties will be manually served by First class U.S. Mail, postage prepaid, or
 6
     by facsimile: N/A
 7

 8          DATED this 23rd day of February, 2024, at Toppenish, Washington.

 9
                                                  /s/ Ethan Jones
10                                                Ethan Jones, WSBA #46911
                                                  Anthony S. Aronica, WSBA #54725
11                                                YAKAMA NATION
                                                  OFFICE OF LEGAL COUNSEL
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                                                   P.O. Box 150 / 401 Fort Road
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                                                   Toppenish, WA 98948
                                                   Telephone: (509) 865-7268
14                                                ethan@yakamanation-olc.org
                                                  anthony@yakamanation-olc.org
15
                                                  Attorneys for the Confederated Tribes and
16                                                Bands of the Yakama Nation

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25                                                                               YAKAMA NATION
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     PARTY YAKAMA NATION                                                   P.O. Box 150 / 401 Fort Road
                                                                              Toppenish, WA 98948
     3:22-CV-5035-RSL - 3                                                     Phone (509) 865-7268
